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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

*************************
Kerri A. Gannon,         *
       Plaintiff         *
                         *
v.                       *                      Case No. 1:20-cv-00859-PB
                         *
Catholic Medical Center, *
       Defendant         *
*************************

                                    JOINT MOTION TO STAY

         NOW COME the parties, by and through counsel, and respectfully submit the within Joint

Motion to Stay, stating as follows:

         1.      The parties have settled the case but are engaged in negotiating the terms of an

agreement as it must address rights asserted by the New Hampshire Department of Employment

Security to recover Federal Pandemic Unemployment Compensation (FPUC) from any settlement

funds.

         2.      The parties have received notice from the Court that trial cannot proceed as

scheduled and will need to be rescheduled.

         3.      The parties believe a strong likelihood exists that they will be able to advise the

Court of settlement within the next sixty (60) days.

         4.      The parties therefore respectfully submit that the interests of judicial economy favor

staying the case for sixty (60) days rather than setting a new trial date at this time. The parties

further respectfully submit that the Court should grant the requested stay subject to the plaintiff’s

ability to move to lift the stay to join the State of New Hampshire to resolve any issues related to

the State’s asserted interest in this case relative to the plaintiff’s receipt of FPUC.

         5.      Because staying cases for short and finite periods of time is within the Court’s

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sound discretion, the parties do not believe that a memorandum of law is required.

       6.      This motion is fully assented-to.

       WHEREFORE, the parties jointly move this Honorable Court:

       A.      Stay the case for sixty (60) days, subject to the plaintiff’s right to move to lift the

stay during such period to join the State of New Hampshire to resolve issues related to the State’s

asserted interest in the plaintiff’s case arising from the plaintiff’s receipt of Federal Pandemic

Unemployment Compensation; and

       B.      Grant such other and further relief as is just and equitable.

 Respectfully submitted,                               Respectfully submitted,
 KERRI A. GANNON                                       CATHOLIC MEDICAL CENTER
 By her attorneys,                                     By its attorneys,

 /s/ Benjamin T. King                                  /s/ K. Joshua Scott
 Benjamin T. King, NH Bar #12888                       K. Joshua Scott, NH Bar #17479
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 Date: March 1, 2022                                   Date: March 1, 2022

                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served this date upon all counsel
of record via the ECF filing system.

                                                         /s/ Benjamin T. King
                                                         Benjamin T. King




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